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EXHIBIT 7
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daw ui Des: Pamela Schismerstar,
a; GY 4kSR- {amy writing Inia loner in mead ol vedficotion on your meds sont Ma, Jeong Ah Shin jor whom, Accofding to the docyments
eae we have, I 2005, you issued a Pn.0. certification Ieiet to our school, Dongguk University. in Seow. Korea.
or de ea - AR COring 10 One Of the documenta, In Mey 27, 2005, pou Istued a certiication latiar saying that Jeong Ah Shin (dob April 22.
. yt (972) gol # "h.D. in the mefor ol Histoty ol Ad and graduated in Mey 2105, The letter was carbon capled to Protessor
& snee- Costing Manning and the Department of the History cf Moreover, in response fo our letter ol asking your var ‘icaion of
. | fe May fetter, In Secleroer 22, 2005, you fase as, saying thal you con|imed that the May jeller was lasued by the Yale
“ x. Graduate Schoot and signed oy you,
Ry

On the convey to your sistements, however. upon pur cequest Ica thw veritication of Ma. Shins status on whather she gol 6
P,D. in ine Depactmore of the History of Ar. Susan Emorson, the registtor of the Depasunent of the History of Art injormad us
: frat Jeong Ah Shin did nol tecehe a PaO, In the History of Art Oepadiment. Also Professor Mabring emalied saving thot she
. did nor advise Jeong Ah Stun end doas no] know har.

, . Faced with mas two contradictory siatomonts fom Yale Univoisity abo (43. Jeong Ab Shin. wa ate oblloged io ask you
. again whether you raiy issued the May ond September cartification Inthe on behell of the Yole Gragualy School. | veong An
*| + Bhin secelved & PhO. in Ina major of the History of Art under Proferror Mobting, as you coalimed, why do you think Susan
te Emerson and Cr, Christine Mehing pave denied what you wrote about Ms, Shin?

“7 wit be wany tanned of you Ht you double check both the taglstar of the Yala Gtaduate Schoo! and (he Hestory of An Deparment
ns ~ 2th regard to our isquiry about Ms. Shin's etenss on whether she realty got a Pp.0. i the History of Al Dapartmont uncer the
of aupernison of Or, Mobting. Your quick reply to this will be orastiy appratiated.

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